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                        UN ITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA
                                MIAMI DIVISION
                  Case No. 11-23984-CIV-GRAHAM/GOODMAN
 ARTHUR USINA JR .,

        Plaintiff,

 VS .                                                     CLO SED
 PINNACLE ASSET GROUP , LLC ,                              CW IL
        Defendant .                                        CA SE
                                         /


        THIS CAUSE comes before the Court upon Plaintiff's Notice of

 Voluntary D ismissal With Prejudice (D.E. 8).

        THE COURT has considered the Notice, the pertinent portions of

 the record , and     is otherw ise    fully   advised       the premises .

 Accordingly , it is hereby

        ORDERED   ANn ADJUDGED   that this action        is DISMISSED WITH

 PREJUD ICE .

        DONE AND ORDERED in Chambers at Miami, Florida, this J2N      -    y
 of February , 2012 .




                                         DONALD L . GRAHAM
                                         UNITED STATES DISTRICT JUDGE


 cc :   Counsel of Record
